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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ABC CORPORATION I,
 ABC CORPORATION II,                                Case No. 1:20-cv-4806

                        Plaintiffs,                 Judge Thomas M. Durkin

        v.                                          Magistrate Judge Jeffrey Cole

 THE PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE A,

                        Defendants.


        MOTION FOR ENTRY OF A TEMORARY RESTRAINING ORDER AND
                       PRELIMINARY INJUNCTION

   Plaintiffs Hangzhou Chic Intelligent Technology Co. and Unicorn Global, Inc. (collectively,

“Plaintiffs”) respectfully move this Court for entry of a Temporary Restraining Order (“TRO”)

and Preliminary Injunction (“PI”) restraining and enjoining the Defendants Gyroor, Gyroor-US,

Urbanmax, Fengchi-US, HGSM, Gaodeshang-US, Jiangyou-US, and Gyroshoes (collectively,

“Defendants”) and those in active concert with them, until trial or further order of this Court, from

manufacturing, reproducing, marketing, selling, offering to sell, licensing, importing, and/or

exporting hoverboard products that infringe upon Plaintiffs’ U.S. Design Patent Nos. D737,723

and D738,256 and restraining the transfer of assets associated with sales of any such products.

   This motion is made on the grounds that, as to Plaintiffs’ patent infringement claims, Plaintiff

is likely to succeed on the merits, Plaintiff is threatened with irreparable harm, and the balance of

harms weighs in favor of granting the TRO and PI. Plaintiffs move as an opportunity for all

Defendants to contest the PI on the merits.
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       This motion is made pursuant to Federal Rules of Civil Procedure Rule 65, and is based

upon this Motion for Entry of a Temporary Restraining Order and Preliminary Injunction,

Memorandum of Law in support thereof, the Expert Declarations of Paul Hatch and Richard F.

Bero and their attachments, all pleadings, records, and documents on file herein, and such matters

which this Court may take judicial notice, and upon such further oral argument and documentary

evidence as may be presented to the Court at or before the hearing on this motion.

                                             Respectfully submitted,

Dated: November 9, 2022

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 9, 2022, a true and correct copy of the foregoing

document was filed with the Clerk of the Court using CM/ECF which will generate and serve a

Notice of Electronic Filing to all parties to this action.

Dated: November 9, 2022

 PALMERSHEIM & MATHEW LLP                            TARTER KRINSKY & DROGIN LLP

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